     Case 4:22-cv-03481 Document 1-3 Filed on 10/10/22 in TXSD Page 1 of 14                            9/2/2022 12:46 PM
                                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                 Envelope No. 67928784
                           2022-55764 / Court: 80                                                       By: Patricia Jones
                                                                                                Filed: 9/2/2022 12:46 PM

                                CAUSE NO.

  JENNIFER GONZALEZ,                                       IN THE DISTRICT COURT OF
  Plaintiff;


   VS.
                                                               HARRIS COUNTY,TEXAS

   WALMART INC. D/B/A WALMART
   SUPERCENTER #5116 and
   JOHN DOE,
   Defendants.                                                       JUDICIAL DISTRICT



                           PLAINTIFF'S ORIGINAL PETITION



TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW,Jennifer Gonzalez (hereinafter referred to as "Plaintiff'), complaining of

and about Walmart Inc. d/b/a Walmart Supercenter #5116 and John Doe (hereinafter referred to

as "Defendants"), and for cause of action shows unto this Court the following:

                           I.     DISCOVERY CONTROL PLAN

         1.    Plaintiff intends to conduct discovery under Level 2 of Texas Rule of Civil

Procedure 190.3 because this suit is not governed by Texas Rule of Civil Procedure 190.2 or 190.4.

                                       II.     PARTIES

         2.    Plaintiff Jennifer Gonzalez is a resident ofHarris County, Texas, and may be served

by and through her attorneys of record, C. Chad Pinkerton and Joe De Leon at The Pinkerton Law

Firm, PLLC, 550 Westcott St., Suite 590, Houston, Texas 77007.

         3.    Defendant Walmart Inc. d/b/a Walmart Supercenter #5116 is a Deleware

Corporation doing business in Harris County, Texas, and may be served through its registered




                                                                                     Exhibit B
     Case 4:22-cv-03481 Document 1-3 Filed on 10/10/22 in TXSD Page 2 of 14




agent: CT Corporation System, 1999 Bryan St., Ste. 900. Dallas, Texas, 75201-3136 USA.

Citation is requested at this time.

       4.      Defendant Walmart Inc. d/b/a Walmart Supercenter #5116 may also be served at

its principal place of business: 9025 Spencer Hwy, La Porte, Texas 77571.

       5.      Defendant John Doe is an individual residing and/or doing buisiness in Harris

County, Texas as the manager of Walmart Supercenter #5116. John Doe is being sued in his

individual capacity and shall be served after he is identified in the discovery process.

                                III.    MISNOMER/ALTER EGO

       6.      In the event any Parties are misnamed or not included herein, Plaintiff contends that

such was a "misidentification" or "misnomer" and/or that such Parties are/were "alter egos" ofthe

Parties named herein. To that extent, Plaintiff asserts the alter ego doctrine and contends that all

existing "corporate veils" should be pierced in the interests ofjustice to hold accountable all those

who failed to operate their business(es) in accordance with customary terms and measures.

Plaintiff will accordingly seek damages from any individual business-owner-defendant who

forfeited the typical corporate or business protections afforded to such entity.

                         IV.        REQUEST PURSUANT TO RULE 28

       7.      In the event that any Defendant is conducting business pursuant to a trade name or

assumed name,then this suit is brought against Defendants pursuant to the terms of Rule 28 ofthe

Texas Rules of Civil Procedure, and Plaintiff demands that, upon answering the Petition,

Defendants answer in their correct legal and/or assumed name(s).

                               V.      JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction as the amount in controversy is within its

jurisdictional limits. TEX. GOV. CODE § 24.007(b). This Court has personal jurisdiction over



                                                 2

                                                                                     Exhibit B
     Case 4:22-cv-03481 Document 1-3 Filed on 10/10/22 in TXSD Page 3 of 14




Defendants as they reside (see above) and/or are doing business in Texas. Moreover, all or a

substantial part of the events or omissions giving rise to Plaintiff's claims occurred in Harris

County, Texas.

       9.      Venue is proper in Harris County pursuant to TEX. CIV. PRAC. & REM. CODE §

15.002(a)(1) as all or a substantial part ofthe events or omissions giving rise to the claim occurred

in Harris County, Texas. Venue may also be proper in Harris County pursuant to TEX. CIV. PRAC.

& REM. CODE § 15.002(a)(2) and (3)

                                          VI.     FACTS

       10.     On April 4, 2021, Plaintiff was out shopping with her daughter at the Walmart

Supercenter #5116 located at 9025 Spencer Hwy, La Porte, Texas 77571. Based on information

and belief, this store is owned and operated by Defendant Walmart and managed by Defendant

John Doe. As part of Defendant John Doe's duties, he or she was responsible for ensuring the

safety of Defendant Walmart's premises.

       1 1.    At some point while shopping, Plaintiff stepped in a water-like substance that had

accumulated on the floor. Almost immediately thereafter, Plaintiff slipped, fell, and landed

partially underneath her shopping basket on her backside. The water-like substance Plaintiff

stepped on made the tile slippery and created a fall hazard. Plaintiff was unaware ofthe dangerous

slippery condition created by the wet tile as it was not open and obvious—the water-like

substance's transparent properties allowed it to blend in with the tile. Moreover, neither Defendant

placed signage around the area where the water-like substance accumulated, which resulted in

Plaintiff not being adequately warned about a known or reasonably discoverable hazard.

       12.     Plaintiff sustained serious bodily injury after she fell. More specifically, Plaintiff

suffered injuries to her right hip, right leg, back, neck, and other extremities. She has since sought



                                                  3

                                                                                      Exhibit B
     Case 4:22-cv-03481 Document 1-3 Filed on 10/10/22 in TXSD Page 4 of 14




reasonable and necessary medical treatment to recover from such injuries. Therefore, in light of

the foregoing, Plaintiff brings all claims and seeks to recover all damages available under the law.

                          VII.    CAUSE OF ACTION: NEGLIGENCE

       13.      Plaintiff incorporates by reference all prior allegations contained herein.

       14.      Plaintiff alleges negligence against Defendants. Defendants had a duty to exercise

the degree of care that a person of ordinary prudence would to avoid harm to others under

circumstances similar to those described herein.

       15.      Plaintiff's injuries were directly and proximately caused by Defendants' negligent,

careless, or reckless maintenance ofthe store. More specifically, Defendants were negligent in the

following non-exclusive ways based on information and belief:

             a. in failing to maintain the store's pathways, aisles, or walking areas in a reasonably
                safe manner;

             b. in failing to properly train, supervise, manage, or control its employees responsible
                for maintaining the store's pathways, aisles, or walking areas;

             c. in failing to warn Plaintiff of a known danger;

             d. in failing to provide Plaintiff with a safe place to walk;

             e. in failing to properly and timely inspect the store's surroundings so as not to place
                the safety of others, including Plaintiff, at risk;

             f. in failing to provide appropriate job supervision;

             g. in failing to properly train its employees on proper job safety; and

             h. in consciously disregarding the safety of others by failing to correct a reasonably
                discoverable dangerous condition.

       16.       All of the above acts and/or omissions, individually, or in combination, represent a

breach of duties owed and directly and proximately caused the damages sustained by Plaintiff.




                                                  4

                                                                                       Exhibit B
    Case 4:22-cv-03481 Document 1-3 Filed on 10/10/22 in TXSD Page 5 of 14




 VIII. CAUSE OF ACTION: NEGLIGENT HIRING,SUPERVISION,AND TRAINING

       17.     Plaintiff incorporates by reference all prior allegations contained herein.

       18.     In light of Defendant Walmart's duty to hire/supervise/train competent employees,

Plaintiff's negligence claim includes allegations of negligent hiring, supervision, and training

against Defendant Walmart.       In owning and/or operating the store in question (Walmart

Supercenter #5116), Defendant Walmart had a duty to ensure that their employees were properly

hired, trained, and supervised before and while performing any assigned job duties. These job

duties certainly included, but were not limited to, cleaning the store's floors and ensuring they are

free from any dangerous conditions.

       19.     Defendant     Walmart     breached     its   legal   duty   when     it   negligently

hired/supervised/trained its employees. Based on information and belief, Defendant Walmart did

not ensure its employees were properly trained nor did it ensure that its store's walkways were free

from any dangerous conditions. Instead, Defendant Walmart allowed its employees to permit

dangerous conditions to exist without regard for the safety of patrons/invitees like Plaintiff.

Defendant Walmart also intentionally and/or consciously disregarded the safety of patrons/invitees

like Plaintiff by allowing its employees to be unaware of their surroundings, contrary to what

safety protocols demand.

       20.     Defendant Walmart also failed to properly supervise the employees responsible for

performing required safety inspections and/or failed to properly train such employees on the

procedure(s)for reasonably inspecting for and identifying potential safety hazards (e.g., the proper

procedure, if any, for cleaning and maintaining walkways free from dangerous conditions).




                                                 5

                                                                                     Exhibit B
      Case 4:22-cv-03481 Document 1-3 Filed on 10/10/22 in TXSD Page 6 of 14




        21.      Defendant Walmart's failure to hire/supervise/train competent employees

constituted a breach ofthe duty of care owed to invitees like Plaintiff and directly and proximately

caused the incident in question and Plaintiff's subsequent injuries.

IX.    CAUSE OF ACTION: GROSS NEGLIGENCE(COMMON LAW & STATUTORY)

        22.      Plaintiff re-alleges each and every allegation set forth above.

        23.      Plaintiff alleges gross negligence against Defendants and seeks exemplary damages

in accordance with Texas law as Defendants negligent conduct was more than momentary

thoughtlessness or inadvertence. When viewed objectively from Defendants' standpoint at the

time of the incident in question, their actions were grossly negligent and involved an extreme

degree of risk considering the then-existing probability and magnitude of potential harm to others

like Plaintiff, who could be seriously harmed as a result of Defendants failure to:

              a. maintain the store's pathways, aisles, or walking areas in a reasonably safe manner;

              b. properly train, supervise, manage, or control its employees responsible for
                 maintaining the store's pathways, aisles, or walking areas;

              c. warn Plaintiff of a known danger;

              d. provide Plaintiff with a safe place to walk;

              e. properly and timely inspect the store's surroundings so as not to place the safety of
                 others, including Plaintiff, at risk;

              f. provide appropriate job supervision;

              g. properly train its employees on proper job safety; and

              h. correct a reasonably discoverable dangerous condition.

        24.      Thus, considering Plaintiff was injured as a result thereof, Plaintiff contends that

Defendants acted with malice and/or conscious disregard for human safety by operating or

maintaining the store without regard for company policies or the safety of store patrons. In doing



                                                   6

                                                                                      Exhibit B
     Case 4:22-cv-03481 Document 1-3 Filed on 10/10/22 in TXSD Page 7 of 14




so, Defendants engaged in negligent acts or omissions with actual, subjective awareness of the

risk(s) involved but proceeded with complete and reckless disregard for and with willful, wanton,

and actual conscious indifference to the rights, safety, and welfare of others, including Plaintiff,

who was seriously harmed by Defendants' store being operated or maintained under present

circumstances. Moreover, Defendant Walmart may also be liable to the extent that it authorized

or ratified the gross negligence of an employee or agent, or if it committed gross negligence

through the actions or inactions of a vice principal.' See TEX. CIV. PRAC. & REM. CODE §

41.003(a). Accordingly, in light of Plaintiff's damages being directly and proximately caused by

Defendants' grossly negligent actions or inactions, Plaintiff is entitled to punitive and/or

exemplary damages, including potentially "uncapped" punitive damages should discovery show

that Defendants' conduct disqualifies them from any such caps under state or federal law. See id. at

§ 41.008.

        X.       CAUSE OF ACTION: PREMISES LIABILITY(ALTERNATIVELY)

        25.      Plaintiff incorporates by reference all prior allegations contained herein.

        26.      In the alternative, without waiving any cause of action alleged above, Plaintiff

alleges a premises liability claim against Defendants as they were the premises occupier (or

controller) responsible for exercising reasonable care to protect store patrons like Plaintiff (an

invitee)from dangerous conditions that were either known to it or were reasonable discoverable.

In other words, Defendants had a duty to (1) protect its patrons from reasonably foreseeable

injuries and (2) exercise reasonable care so as to reduce or eliminate the possibility of an




 "Vice principal" encompasses:(a) corporate officers;(b)those who have authority to employ;(c)those engaged in
the performance of non-delegable or absolute duties of the master; and (d)those to who the master has confided the
management of the whole or a department or a division of the business."

                                                        7

                                                                                                 Exhibit B
    Case 4:22-cv-03481 Document 1-3 Filed on 10/10/22 in TXSD Page 8 of 14




unreasonable risk of harm on the premises. This duty includes the duty to inspect and the duty to

warn or cure.

        27.      Here, the water-like substance Plaintiff stepped on made the tile slippery and

created a dangerous condition (i.e., a fall hazard). Plaintiff was unaware ofthe dangerous slippery

condition created by the wet tile as it was not open and obvious (i.e., the water-like substance's

transparent properties allowed it to blend in with the tile). Such a condition on Defendants'

premises (or the premise under Defendants' control) posed an unreasonable risk of harm.

        28.      Based on information and belief, Defendants knew or reasonably should have

known of the unreasonably dangerous condition after reasonable inspection. As a matter of

routine, Defendants should have(1)known ofthe dangerous condition,(2)taken corrective action

in a timely manner, and (3) provided proper notice to employees and customers frequenting the

area.

        29.      Unfortunately, Defendants failed to use ordinary care in ensuring that their

premises did not present a danger to Plaintiff by:

              a. failing to maintain the pathways of walking areas located within the store's
                 premises in a reasonably safe manner;

              b. failing to properly train, supervise, manage, and control its employees responsible
                 for maintaining the floor and pathways of the store;

              c. failing to warn Plaintiff of a known danger;

              d. failing to provide Plaintiff a safe place to walk;

              e. failing to properly and timely inspect Defendants' surroundings so as not to place
                 the safety of others, including Plaintiff, at risk;

              f. failing to provide appropriate job supervision;

              g. failing to properly train its employees on proper job safety; and

              h. failing to correct a reasonably discoverable dangerous condition.


                                                   8

                                                                                     Exhibit B
    Case 4:22-cv-03481 Document 1-3 Filed on 10/10/22 in TXSD Page 9 of 14




       30.    All of the above acts and/or omissions, individually, or in combination, represent a

breach of duties owed and directly and proximately caused the damages sustained by Plaintiff.

               XI.    CAUSE OF ACTION: NEGLIGENT UNDERTAKING

       31.    Plaintiff incorporates by reference all prior allegations contained herein.

       32.    Defendant Walmart undertook the duty to perform services that they knew or

should have known were necessary for Plaintiff's protection             for example, Defendant

Walmart's operations required maintaining and upkeeping the areas wherein Plaintiff was injured.

Thus, by owning and/or operating the store in question (Walmart Supercenter #5116), Defendant

Walmart undertook to perform services of(1) providing and maintaining a safe workplace for its

employees and store patrons, including Plaintiff; (2) providing and maintaining appropriate job

training to ensure its employees were capable and qualified to perform their job duties; and (3)

providing safety training meetings to ensure employees were properly trained on job safety

procedures.

       33.    Defendant Walmart breached these undertaken duties and increased Plaintiff's risk

of harm by failing to exercise reasonable care in performing such services. As a direct and

proximate result thereof, Plaintiff sustained injuries after relying on Defendant Walmart's

performance of such services to her detriment.

              XII.   VICARIOUS LIABILITY / RESPONDEAT SUPERIOR

       34.    Plaintiff incorporates by reference all prior allegations contained herein.

       35.    Defendant Walmart is further legally responsible to Plaintiff for the negligent

conduct of its vice-principals and the negligent conduct of its employees, agents, servants, and

representatives under a theory of respondeat superior or agency or for delegating non-delegable

duties. Such employees, agents, servants, and representatives were at all times material agents,


                                                 9

                                                                                    Exhibit B
    Case 4:22-cv-03481 Document 1-3 Filed on 10/10/22 in TXSD Page 10 of 14




ostensible agents, servants, or employees of Defendant Walmart and were acting within the course

and scope of their agency, servitude, or employment. As a result of that relationship, Defendant

Walmart is vicariously liable for the negligent and/or grossly negligent actions or omissions of its

vice-principals, employees, agents, servants, and representatives.

          36.      Pleading further, and in the alternative, and without waiving the foregoing,Plaintiff

would also show that, at all relevant times, Defendant Walmart's vice-principals were engaged in

the performance of non-delegable duties that Defendant Walmart authorized or ratified.

          37.      In light of the above, Defendant Walmart is liable to Plaintiff for damages under

the doctrine ofrespondeat superior, traditional principles of agency law,"vice-principal" liability,

and any other applicable theory of law, as Defendant Walmart is responsible for the acts or

omissions of its vice-principals and its employees, agents, servants, and representatives, including

Defendant John Doe. Here, regardless of whether the circumstances surrounding the incident in

question are viewed singularly or in any combination with others, the acts or omissions of

Defendant Walmart's store manager (Defendant John Doe) constitute negligence and gross

negligence, all of which directly and proximately caused the injuries and other losses set forth

herein.

                                           XIII. DAMAGES

          38.      Plaintiff has suffered significant damages as a direct and proximate result of

Defendants' negligent and/or grossly negligent actions or omissions and, therefore, seeks to

recover the following:

                a. Past and future medical expenses;

                b. Past and future lost earnings and loss of wage-earning capacity, if applicable;

                c. Past and future physical impairment;



                                                    10

                                                                                        Exhibit B
    Case 4:22-cv-03481 Document 1-3 Filed on 10/10/22 in TXSD Page 11 of 14




             d. Past and future pain and suffering;

             e. Past and future mental anguish;

             f. Past and future loss of enjoyment of life;

             g. Past and future disability and disfigurement;

             h. Past and future loss of functional capacity (ADLs);

             i. Past and future economic damages;

             j. Punitive/exemplary damages;

             k. Court costs; and

             1. Any other damages available under the law (statutory or common law).

                              XIV. DEMAND FOR JURY TRIAL

       39.      Plaintiff demands a trial by jury on all issues so triable and respectfully objects to

a trial by Zoom.

                                   XV.    PRE-SUIT DEMAND

       40.      Plaintiff sent a pre-suit Stowers Demand on or around December 16, 2021.

Defendants have completely ignored this reasonable and good-faith demand to date despite

multiple follow ups. Stowers is in effect.

                                         XVI. PRAYER

       41.       WHEREFORE, Plaintiff prays and respectfully requests that the Court enter

judgment against Defendants and award Plaintiff:

             a. Past and future medical expenses;

             b. Past and future lost earnings and loss of wage-earning capacity, if applicable;

             c. Past and future physical impairment;

             d. Past and future pain and suffering;



                                                  11

                                                                                      Exhibit B
    Case 4:22-cv-03481 Document 1-3 Filed on 10/10/22 in TXSD Page 12 of 14




             e. Past and future mental anguish;

             f. Past and future loss of enjoyment of life;

             g. Past and future disability and disfigurement;

             h. Past and future loss of functional capacity (ADLs);

             i. Past and future economic damages;

             j. Punitive/exemplary damages;

             k. Court costs; and

             1. Any other damages available under the law (statutory or common law).

       42.      In accordance with Rule 47(c)(4) of the TEXAS RULES OF CIVIL PROCEDURE,

Plaintiff demands monetary relief over $1,000,000.

                                                       Respectfully submitted,

                                                       THE PINKERTON LAW FIRM,PLLC

                                                       /s/ Chad Pinkerton
                                                        Chad Pinkerton
                                                        Tx. State Bar No. 24047199
                                                       .01fLg,q2aSilacl')i         com
                                                        Joe De Leon
                                                        Tx. State Bar No. 24126073
                                                         deleon         nkerton.corn
                                                        The Pinkerton Law Firm,PLLC
                                                        550 Westcott, Suite 590
                                                        Houston, Texas 77007
                                                        713-360-6722 (office)
                                                        713-360-6810 (facsimile)
                                                       \V WV         nkerton.corn
                                                        ATTORNEYS FOR PLAINTIFF




                                                  12

                                                                                 Exhibit B
      Case 4:22-cv-03481 Document 1-3 Filed on 10/10/22 in TXSD Page 13 of 14




                                     CAUSE NO. 2022-55764

JENNIFER GONZALEZ                                *           IN THE DISTRICT COURT OF
     Plaintiff                                   *
                                                 *
VS.                                              *           HARRIS COUNTY, TEXAS
                                                 *
WALMART INC. D/B/A WALMART                       *
SUPERCENTER #5116 and                            *
JOHN DOE                                         *
     Defendants                                  *           80TH JUDICIAL DISTRICT

                 ORIGINAL ANSWER AND JURY DEMAND OF DEFENDANT
                  WALMART INC. D/B/A WALMART SUPERCENTER #5116

TO HONORABLE JUDGE OF SAID COURT:

          COMES NOW Defendant, WALMART INC. D/B/A WALMART SUPERCENTER

#5116, and files its Original Answer and Jury Demand, and would show the Court the following:

                                                 I.

                                      GENERAL DENIAL

          Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant asserts a general

denial.

                                                II.

                                        JURY DEMAND

          Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Defendant demands a jury

trial. Defendant is tendering the required fee with its jury demand.

                                                III.

                                      RULE 193.7 NOTICE

          Pursuant to Texas Rules of Civil Procedure 193.7, this will serve as actual notice that

Defendant intends to use produced documents/tangible items against Plaintiff in pretrial

proceedings and at trial. Accordingly, production of a document(s)/tangible items in response to




                                                                                  Exhibit B
    Case 4:22-cv-03481 Document 1-3 Filed on 10/10/22 in TXSD Page 14 of 14




this Request for Disclosure authenticates the document(s)/tangible items for use against Plaintiff

in any pretrial proceeding or at trial unless Plaintiff objects to the authenticity of any produced

document(s)/tangible items within the time limits as particularly set out in Texas Rules of Civil

Procedure 193.7.

       WHEREFORE, PREMISES CONSIDERED, Defendant prays that Plaintiff take nothing

by reason of this suit herein, and that Defendant goes hence without day and recover its costs.

                                             Respectfully submitted,

                                             MEHAFFY WEBER, P.C.

                                             /s/Karen L. Spivey
                                             KAREN L. SPIVEY
                                             SBN: 18955100
                                             KarenSpivey@mehaffyweber.com
                                             WILLIAM F. “WIL” THORNE
                                             SBN: 24102569
                                             WilliamThorne@mehaffyweber.com
                                             PO Box 16
                                             Beaumont TX 77704-0016
                                             2615 Calder Avenue, Suite 800
                                             Beaumont TX 77702
                                             Ph:    409-835-5011
                                             Fx:    409-835-5177
                                             ATTORNEYS FOR DEFENDANT,
                                             WALMART INC. D/B/A WALMART
                                             SUPERCENTER #5116



                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Defendant’s Answer has been

forwarded to opposing counsel of record by electronic filing, on this 30th day of September, 2022.

                                             /s/ Karen L. Spivey
                                             ________________________________
                                             KAREN L. SPIVEY




                                                2
                                                                                   Exhibit B
